       Case 1:19-cv-01174-JCH-JFR Document 20 Filed 02/28/20 Page 1 of 11




                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO


RIO GRANDE FOUNDATION and
ILLINOIS OPPORTUNITY PROJECT,

                 Plaintiffs,

v.                                                          Case No: 1:19-cv-1174-JAP-JFR


MAGGIE TOULOUSE OLIVER, in her
official capacity as Secretary of State
of New Mexico,

                 Defendant.


                           MOTION TO DISMISS
      COUNT III CHALLENGE TO SECRETARY’S RULEMAKING AS ULTRA VIRES

        In their Amended Complaint, Plaintiffs added a third count to their existing, First

Amendment challenges to New Mexico’s registration, reporting, and disclosure

requirements in the State’s Campaign Reporting Act. In Count III, Plaintiffs contend that

the Secretary of State’s 2017 regulations implementing the Campaign Reporting Act are

ultra vires. The allegation in this claim is that the Secretary’s rulemaking was an attempt to

implement by regulation laws that had been vetoed by the Governor. Plaintiffs bring this

claim even though in 2019 the New Mexico Legislature enacted a statute containing

registration, reporting, and disclosure requirements very similar to the challenged 2017

regulations, and even though the Secretary has since promulgated new regulations

implementing the 2019 law and replacing the 2017 regulations challenged in Count III.

Rio Grande Foundation v. Oliver, Case No. 1:19-cv-1174-JAP-JFR
Motion to Dismiss Count III Challenge to Secretary’s Rulemaking as Ultra Vires
Page 1 of 11
       Case 1:19-cv-01174-JCH-JFR Document 20 Filed 02/28/20 Page 2 of 11




        The Court lacks jurisdiction to hear this added count and it should be dismissed

pursuant to Federal Rule of Civil Procedure 12(b)(1). First, Plaintiffs lack standing to

challenge the Secretary’s 2017 rulemaking. Most simply, the claim is moot because the

Secretary has since adopted new rules that undoubtedly have legislative support in nearly-

identical legislation passed in 2019. And even if the claim were not moot, vacating the rules

as ultra vires would not redress any injury by Plaintiffs, because they would still be subject

to the same registration, reporting, and disclosure requirements contained in statute.

        Count III also should be dismissed because the Court lacks supplemental

jurisdiction to hear it. Plaintiffs’ ultra vires challenge to the Secretary’s rulemaking is a

state law claim for which New Mexico has not waived its Eleventh Amendment immunity.

Even if the Court could otherwise exercise supplemental jurisdiction over this claim under

28 U.S.C. § 1367, sovereign immunity bars it from doing so. Lastly, were the Court to

determine that it had jurisdiction and Plaintiffs had standing, it still should decline to

exercise supplemental jurisdiction over Count III. Any intra-branch dispute between the

Governor and the Secretary of State raises fundamental questions of state governmental

powers that should be decided in state court.

        Pursuant to Local Rule 7.1(a), Defendant consulted with Plaintiffs and they oppose

this motion.




Rio Grande Foundation v. Oliver, Case No. 1:19-cv-1174-JAP-JFR
Motion to Dismiss Count III Challenge to Secretary’s Rulemaking as Ultra Vires
Page 2 of 11
       Case 1:19-cv-01174-JCH-JFR Document 20 Filed 02/28/20 Page 3 of 11




        I.       Plaintiffs Lack Standing to Challenge a Superseded Rulemaking That
                 Would Not Alter Their Requirements, Even If Vacated.

        At the outset, it must be determined whether Plaintiffs meet the constitutional

standing requirements to bring their claims. See Gill v. Whitford, 138 S. Ct. 1916, 1923

(2018) (“a plaintiff seeking relief in federal court must first demonstrate that he has

standing to do so, including that he has a personal stake in the outcome” (internal

quotation marks and citation omitted)). The burden to establish standing is on the

plaintiff. Wittman v. Personhuballah, 136 S. Ct. 1732, 1737 (2016). “The irreducible

constitutional minimum of standing” requires that the “plaintiff must have (1) suffered an

injury in fact, (2) that is fairly tradeable to the challenged conduct of the defendant, and

(3) that is likely to be redressed by a favorable judicial decision.” Renewable Fuels Ass’n v.

EPA, 948 F.3d 1206, 1231 (10th Cir. 2020) (quotation marks and internal citations omitted).

“To demonstrate redressability, a party must show that a favorable court judgment is

likely to relieve the party’s injury.” City of Hugo v. Nichols (Two Cases), 656 F.3d 1251, 1264

(10th Cir. 2011). Furthermore, a court has “no subject-matter jurisdiction if a case is moot.

The crucial question is whether granting a present determination of the issues offered will

have some effect in the real world.” Prison Legal News v. Fed. Bureau of Prisons, 944 F.3d

868, 879–80 (10th Cir. 2019) (internal quotation marks and citations omitted, emphasis in

original).

        Count III fails this initial standing inquiry because any injury caused by ultra vires

rulemaking in 2017 is both not redressable and moot. Count III challenges the Secretary’s


Rio Grande Foundation v. Oliver, Case No. 1:19-cv-1174-JAP-JFR
Motion to Dismiss Count III Challenge to Secretary’s Rulemaking as Ultra Vires
Page 3 of 11
       Case 1:19-cv-01174-JCH-JFR Document 20 Filed 02/28/20 Page 4 of 11




adoption of a rule that has since been superseded by rulemaking. Plaintiffs’ Amended

Complaint discusses the Secretary’s rulemaking in 2017 following the veto of Senate Bill 96

(2017). (First Am. Compl., ECF No. 13, ¶¶ 12–16.) Plaintiffs incorrectly assert that the

Secretary has not promulgated rules to implement 2019’s legislative revisions to the

Campaign Reporting Act, “leaving the 2017 Rule on the books.” (Id., ¶ 18.; see also id., ¶ 50

(“She has not issued new regulations in accord with the [2019] Bill and those in the Rule

hang in the air unsupported by statutory or constitutional scaffolding.”).) In fact, the

Secretary promulgated a rule on October 16, 2019, effective on October 29, 2019, amending

the reporting and disclosure requirements in 1.10.13 NMAC to conform with Senate Bill 3

(2019). The 2017 rulemaking Plaintiffs challenge is no longer the law, and has been replaced

by a rule adopted to implement Senate Bill 3.1

                 a.      Count III Lacks Redressability Because Plaintiffs Will Be Subject to
                         the Same Requirements Even If the Rules Are Vacated.

        First, Plaintiffs’ challenge to the 2017 rulemaking does not allege a redressable

injury. Even if Plaintiffs were to prevail on Count III and obtain their requested relief

vacating the 2017 rules, the Campaign Reporting Act’s nearly-identical registration,

reporting, and disclosure requirements would remain in place, leaving Plaintiffs’

purported injury from those requirements uncured. Compare 1.10.13.11 NMAC with N.M.

Stat. Ann. § 1-19-27.3. Where a plaintiff’s claim would still be prohibited by laws other than

that challenged, the claim lacks redressability because any injury would persist after a

1
  The rulemaking record is available at: https://www.sos.state.nm.us/legislation-and-
lobbying/legal-resources/notice-of-proposed-rulemaking-july-16-2019/
Rio Grande Foundation v. Oliver, Case No. 1:19-cv-1174-JAP-JFR
Motion to Dismiss Count III Challenge to Secretary’s Rulemaking as Ultra Vires
Page 4 of 11
       Case 1:19-cv-01174-JCH-JFR Document 20 Filed 02/28/20 Page 5 of 11




judgment on the claim. That is, “[o]ne law alone does not cause an injury if the other law

validly outlaws all the same activity.” 13A Wright et al., Fed. Prac. & Proc. Juris. § 3531.5 (3d

ed. 2019), at n.42.50; see also Renne v. Geary, 501 U.S. 312, 319 (1991) (“reason to doubt”

redressability where separate statute prohibits action); White v. United States, 601 F.3d 545,

552 (6th Cir. 2010) (injury caused by federal law cannot be redressed where state

prohibitions would remain in place); Midwest Media Prop., L.L.C. v. Symmes Twp., Ohio,

503 F.3d 456, 461–62 (6th Cir. 2007) (“even in the absence of these regulations … that would

not redress plaintiffs’ injury because [other] restrictions … would still preclude plaintiffs”).

        Plaintiffs suggest that there are some discrepancies between 1.10.13 NMAC and the

Campaign Reporting Act, hinting at an independent injury redressable by vacating the

rule. (“First Am. Compl., ECF No. 13, ¶ 50 (“the Rule in some instances sets lower

thresholds for reporting and disclosure than the Bill”).) This appears to refer to since-

amended parts of 1.10.13 NMAC, before it was changed to reflect Senate Bill 3 (2019). But

even if there are some discrepancies between the statute and the rule, those differences

cannot form the basis of an injury, because any conflicting rules are without legal effect.

Under the New Mexico Rules Act, “[n]o rule is valid or enforceable if it conflicts with

statute. A conflict between a rule and a statute is resolved in favor of the statute.” N.M.

Stat. Ann. § 14-4-5.7(A). Moreover, Plaintiffs do not allege any intended behavior that

would violate the rule but not the statute. Instead, Plaintiffs proclaim an intent to send

mailings that they believe would require them to comply with the registration, reporting,

and disclosure requirements of the Campaign Reporting Act. (See “First Am. Compl., ECF

Rio Grande Foundation v. Oliver, Case No. 1:19-cv-1174-JAP-JFR
Motion to Dismiss Count III Challenge to Secretary’s Rulemaking as Ultra Vires
Page 5 of 11
       Case 1:19-cv-01174-JCH-JFR Document 20 Filed 02/28/20 Page 6 of 11




No. 13, ¶¶ 26–27, 33-34.) Simply, whether or not Plaintiffs can show that the 2017

rulemaking was ultra vires, they still will be subject to the same campaign disclosure

requirements.

        b.               Count III Is Moot Because the 2017 Rulemaking Has Been Superseded
                         By a New Rulemaking Following Senate Bill 3.

        Count III also should be dismissed because it is moot. The basis of Plaintiffs’ claim

is that the Secretary lacked authority under the New Mexico Constitution to promulgate

rules contravening the Governor’s veto. (See “First Am. Compl.,” ¶¶ 46–50.) However, the

2017 rule is no longer in effect. Rather, the current version of 1.10.13 NMAC was enacted

following the Legislature’s passage of Senate Bill 3 (2019), which imposed nearly-identical

registration, reporting, and disclosure requirements to those contained in 1.10.13 NMAC.

This subsequent history, following the 2017 rulemaking, makes academic any question of

whether the 2017 rulemaking was ultra vires. The 2019 rulemaking, which followed a

parallel legislative enactment, has none of the infirmities Plaintiffs allege.

        Because a holding that the 2017 rulemaking was ultra vires would have no effect in

the real world, where the 2019 rulemaking is now in effect, Count III is moot. Prison Legal

News, 944 F.3d at 879–80. Indeed, as the Tenth Circuit has recognized, the adoption of a

new rule renders moot challenges to the rulemaking of an old rule. Wyoming v. U.S. Dept.

of Agr., 414 F.3d 1207, 1212 (10th Cir. 2005); see also Rio Grande Silvery Minnow v. Bureau of

Reclamation, 601 F.3d 1096, 1113 (10th Cir. 2010) (finding claim moot where “we are not




Rio Grande Foundation v. Oliver, Case No. 1:19-cv-1174-JAP-JFR
Motion to Dismiss Count III Challenge to Secretary’s Rulemaking as Ultra Vires
Page 6 of 11
       Case 1:19-cv-01174-JCH-JFR Document 20 Filed 02/28/20 Page 7 of 11




situated to issue a present determination with real-world effect because [the] regulations

no longer are operational”).

        II.      The Court Lacks Supplemental Jurisdiction Over Count III Because It
                 Asserts a Claim to Which the State Has Eleventh Amendment
                 Immunity.

        Plaintiffs’ Amended Complaint does not identify the jurisdictional basis for Count

III. (See “First Am. Compl., ¶ 10 (identifying only jurisdictional basis for First Amendment

claims under 28 U.S.C. §§ 1331 and 1343).) Because Count III raises a state law claim that the

Secretary’s 2017 rulemaking violated Article III, Section 1 of the New Mexico Constitution,

the federal question jurisdiction identified in Plaintiffs’ Amended Complaint cannot serve

as a basis for this Count. Presumably, Plaintiffs rely on the federal courts’ supplemental

jurisdiction under 28 U.S.C. § 1367. That statute gives district courts “supplemental

jurisdiction over all other claims that are so related to claims in the action within [a court’s]

original jurisdiction that they form part of the same case or controversy,” with listed

exceptions.

        However, 28 U.S.C. § 1367’s provision of supplemental jurisdiction does not extend

to claims barred by Eleventh Amendment immunity. Raygor v. Regents of Univ. of Minn.,

534 U.S. 533, 542 (2002) (“we hold that § 1367(a)’s grant of jurisdiction does not extend to

claims against nonconsenting state defendants”); see also Pettigrew v. Oklahoma ex rel.

Okla. Dep’t of Pub. Safety, 722 F.3d 1209, 1213 (10th Cir. 2013). As the Supreme Court held in

Pennhurst State School and Hospital v. Halderman, supplemental jurisdiction “does not

permit such an evasion of the immunity guaranteed by the Eleventh Amendment,” such

Rio Grande Foundation v. Oliver, Case No. 1:19-cv-1174-JAP-JFR
Motion to Dismiss Count III Challenge to Secretary’s Rulemaking as Ultra Vires
Page 7 of 11
       Case 1:19-cv-01174-JCH-JFR Document 20 Filed 02/28/20 Page 8 of 11




that a claim alleging that state officials violated state law can be brought in federal court.

465 U.S. 89, 121 (1984); see also Raygor, 534 U.S. at 540–42 (recognizing that Pennhurst’s

holding was not altered by the statutory enactment of supplemental jurisdiction in 28

U.S.C. § 1367). “The supplemental jurisdiction statute does not override the sovereign

immunity enjoyed by states under the Eleventh Amendment and related doctrines.

Accordingly, absent waiver of immunity, federal courts have no jurisdiction under § 1367

for claims asserted against a state.” 13D Wright et al., Fed. Prac. & Proc. Juris. § 3567 (3d ed.

2019), at nn. 54–55.

        Count III is such a claim, barred by Eleventh Amendment immunity. “Under the

Eleventh Amendment, states are generally immune from suits brought in federal court by

their own citizens, by citizens of other states, by foreign sovereigns and by Indian tribes.”

Chamber of Commerce of U.S. v. Edmondson, 594 F.3d 742, 760 (10th Cir. 2010). The three

exceptions to Eleventh Amendment immunity are: (1) “a state may consent to suit in

federal court”; (2) “Congress may abrogate a State’s sovereign immunity … under Section 5

of the Fourteenth Amendment;” and (3) “under Ex Parte Young, a plaintiff may bring suit

against individual state officers acting in their official capacities if the complaint alleges an

ongoing violation of federal law and the plaintiff seeks prospective relief.” Muscogee

(Creek) Nation v. Pruitt, 669 F.3d 1159, 1166 (10th Cir. 2012). As it does not fall under any of

these exceptions, “the Eleventh Amendment bars suits brought in federal court seeking to

enjoin a state official from violating state law.” Johns v. Stewart, 57 F.3d 1544, 1553 (10th Cir.

1995). “Indeed, the [Supreme] Court has noted ‘it is difficult to think of a greater intrusion

Rio Grande Foundation v. Oliver, Case No. 1:19-cv-1174-JAP-JFR
Motion to Dismiss Count III Challenge to Secretary’s Rulemaking as Ultra Vires
Page 8 of 11
       Case 1:19-cv-01174-JCH-JFR Document 20 Filed 02/28/20 Page 9 of 11




on state sovereignty than when a federal court instructs state officials on how to conform

their conduct to state law.” Id. (quoting Pennhurst, 465 U.S. at 106).

        Plaintiffs ask the Court to do just that and invalidate the Secretary’s rulemaking so

as to purportedly comply with New Mexico’s Constitution. The Eleventh Amendment does

not permit such a claim to be brought in federal court. There is no suggestion that New

Mexico has waived sovereign immunity for state constitutional claims to be brought in

federal court. Nor do Plaintiffs point to any federal law basis for this claim that could

support an exception under Section 5 of the Fourteenth Amendment or Ex Parte Young.

Count III is a state law claim against a State that is squarely prohibited by the Eleventh

Amendment.

        Nonetheless, if the Court determines that it could otherwise exercise supplemental

jurisdiction over Count III, it should decline to do so. 28 U.S.C. § 1367(c) provides that

“district courts may decline to exercise supplemental jurisdiction … if (1) the claim raises a

novel or complex issue of State law” or “(4) in exceptional circumstances, there are other

compelling reasons for declining jurisdiction.” Here, both exceptions are met. Questions of

the boundaries of authority between different branches of state government—including

here the interpretation of New Mexico’s Constitution—are quintessential novel or complex

issues of state law that should be left to state courts and “compelling reasons for declining

jurisdiction.” Indeed, this Court has denied a motion to amend that would add state law

claims because “exercising jurisdiction over a separation-of-powers claim based on the

New Mexico Constitution violates fundamental principles of federalism and comity.”

Rio Grande Foundation v. Oliver, Case No. 1:19-cv-1174-JAP-JFR
Motion to Dismiss Count III Challenge to Secretary’s Rulemaking as Ultra Vires
Page 9 of 11
      Case 1:19-cv-01174-JCH-JFR Document 20 Filed 02/28/20 Page 10 of 11




Collins v. Daniels, No. 1:17-cv-776-RJ, 2017 WL 11441859, at *22 (D.N.M. Dec. 11, 2017), aff’d,

196 F.3d 1302 (10th Cir. 2019). Likewise, the Middle District of Alabama noted that it could

“scarcely conceive of more ‘novel or complex issues of State law’” than a state law

separation-of-powers claim. Arthur v. Thomas, 974 F. Supp. 2d 1340, 1357 (M.D. Ala. 2013);

see also Dream Palace v. Cty. of Maricopa, 384 F.3d 990, 1022 (9th Cir. 2004) (affirming

district court’s discretion to decline supplemental jurisdiction over state law claims

“concerning … issues of the balance of power between state and local authorities” that

“involved delicate issues of state law”); People ex rel. Lockyer v. Cty. of Santa Cruz, 416 F.

Supp. 2d 797, 801 (N.D. Cal. 2006) (declining jurisdiction under both 28 U.S.C. § 1367(c)(1)

and (4) where case involves “internal dispute between two segments of the California state

government”).

        The Court should decline Plaintiffs’ invitation to assess whether the Secretary’s 2017

rulemaking exceeded her powers under New Mexico’s Constitution vis-à-vis the Governor

and the Legislature. This question is moot and not an actual controversy. But if it is

decided at all, it should be decided by New Mexico’s state courts. Therefore, the Secretary

of State respectfully requests that the Court dismiss Count III of Plaintiffs’ Amended

Complaint, either on the basis that Plaintiffs lack standing to bring the Count or on the

basis that the Court lacks jurisdiction to hear it.




Rio Grande Foundation v. Oliver, Case No. 1:19-cv-1174-JAP-JFR
Motion to Dismiss Count III Challenge to Secretary’s Rulemaking as Ultra Vires
Page 10 of 11
      Case 1:19-cv-01174-JCH-JFR Document 20 Filed 02/28/20 Page 11 of 11




                                                   By: /s/ Nicholas M. Sydow
                                                           Nicholas M. Sydow
                                                           Civil Appellate Chief
                                                           201 Third Street NW, Suite 300
                                                           Albuquerque, NM 87102
                                                           Tel.: (505) 717-3571
                                                           Fax: (505) 490-4881
                                                           nsydow@nmag.gov

                                                   Attorney for Defendant Secretary of State
                                                   Maggie Toulouse Oliver


                                      CERTIFICATE OF SERVICE

        I certify that on February 28, 2020, I served the foregoing on counsel of record for

all parties via the CM/ECF system.


                                                            /s/ Nicholas M. Sydow
                                                            Nicholas M. Sydow




Rio Grande Foundation v. Oliver, Case No. 1:19-cv-1174-JAP-JFR
Motion to Dismiss Count III Challenge to Secretary’s Rulemaking as Ultra Vires
Page 11 of 11
